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           EXHIBIT 1
   Case 1:21-cr-00371-BMC-TAM Document 185-1 Filed 09/02/22 Page 2 of 3 PageID #: 5220




From:                              Schachter, Michael
Sent:                              Wednesday, August 24, 2022 3:06 PM
To:                                'Harris, Ryan (USANYE) 1'; Nitze, Samuel (USANYE); Lowell, Abbe; Arguello, Sofia;
                                   Hudgens, Johanna; Roualet, Jennie; 'Kolansky, David A.'; Petrocelli, Daniel M.; Jackson,
                                   Randall; Bowman, Jim; Reisch, Jordan; Ballew, Steven J.
Cc:                                Mehta, Hiral (USANYE); Heeren, Craig (USANYE); McKenzie, Matthew (NSD)
Subject:                           RE: U.S. v. Barrack and Grimes, 21-CR-371 (S-1) (BMC), Ltr. re witness lists and 26.2
                                   disclosures


I do believe otherwise on GX706. It is a 2,256 pages long. I don’t think the Court will be enthusiastic about throwing a
2,256‐page exhibit to the jury, and less than a month before trial I think it is fair for the Government to be in a position
to be able to describe its relevance so we can hopefully avoid motion practice. We can move to preclude noting that the
Government has declined to provide any information about what pages of the 2,256‐page exhibit it deems to be
relevant or wishes to display to the jury, but I think it would be more productive for us to try to work it out. Can we have
a dialogue about this one?


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Sent: Wednesday, August 24, 2022 5:25 PM
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Jordan <JReisch@willkie.com>; Ballew, Steven J. <SBallew@willkie.com>
Cc: Mehta, Hiral (USANYE) <Hiral.Mehta@usdoj.gov>; Heeren, Craig (USANYE) <Craig.Heeren@usdoj.gov>; McKenzie,
Matthew (NSD) <Matthew.McKenzie@usdoj.gov>
Subject: RE: U.S. v. Barrack and Grimes, 21‐CR‐371 (S‐1) (BMC), Ltr. re witness lists and 26.2 disclosures

                                            *** EXTERNAL EMAIL ***

Mike,

Getting back to you on a few things:

    1) On Government Exhibit 706, I don’t see why you are entitled to that information at this stage. If you believe
       otherwise, please let us know the basis for your request and we will consider our position.




                                                             1
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